AQ 442 (Rev. 11/11) Arrest Warrant Filed 10/03/24 Page 1of1

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UNITED STATES District

for the

Courr

District of Columbia

United States of America
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JAMES ROE CLEARY ) ably aoe 1-00319
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) Den Hee: 10/02/00" * Faruqui
) “scription: COMPLAINT \
Dipenaaiiseg ) MAINT Vy WARREST WARRANT
ARREST WARRANT

To: Any authorized law enforcement officer

(name of, Person to be arrested)

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who is accused of an offense or Violation based On the following

i Indictment a Superseding Indictment O Information oO Superseding Information M Complaint
@ Probation Violation Petition Oo Supervised Release Violation Pe pean!
This offense is briefly described as follows:

18 U.S.C. § 23 1(a)(3) - Obstruction of Law Enforcement During Civij Disorder.
18 U.S.C. $$ 113 (a)(4) and (S) - Assault,

18 ULS.C. § 1752(a)( 1) - (Entering and Remaining ina Restricted Building or Grounds) =
I8US.C._§ 1752(a)(2) - (Disorderly and Disruptive Conduct in a Restricted Building or Grounds).
I8U.S.C.§ 1752(a)(4) - (Engaging in Physical Violence in a Restricted Building or Grounds).

40 U.S.C. § 5104(e)(2)(D) - (Disorderly Conduct ina Capito] Building), Al a M.
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Issuing offi

tition O Violation Notice 49 Order of the Court a

i Zia M. Faruqui, U.S. Magistrate Judge
go cass Washin a aa i mit Printed name and title

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and the person was arrested on (date

This warrant was ee on (date) o/ (24 - J =
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